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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

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In re:                                                       :
                                                             :        Chapter 11
                                                             :
SOUTHEASTERN GROCERS, LLC, et al.                            :        Case No. 18–10700 (MFW)
                                                             :
                             1
                  Debtors.                                   :        (Jointly Administered)
                                                             :
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                         NOTICE OF MATTER SCHEDULED FOR
                    HEARING ON SEPTEMBER 24, 2018 AT 10:30 A.M. (ET)2

I.       CONTINUED MATTER:

1.       Motion of the Schreiber Co.-Shurlington Plaza for Allowance and Payment of
         Administrative Expense Claim Pursuant to Section 503(b) of the Bankruptcy Code
         [Docket No. 503 – filed May 18, 2018]

         Objection/Response Deadline:                June 4, 2018 at 4:00 p.m. (ET), extended to October
                                                     17, 2018 at 4:00 p.m. (ET) for the Debtors

         Objections/Responses Received:              None

         Status: The hearing regarding this matter is continued to October 24, 2018 at 10:30 a.m.
                 (ET).

II.      STATUS CONFERENCE:

2.       Objections of Commodore Realty, Inc. to Assumption of Nonresidential Real
         Property Leases for Store No. 328, Tavernier, FL and for Store No. 2448, Palmetto,
         FL [Docket No. 266 – filed April 19, 2018]



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Southeastern Grocers, LLC (5190); Samson Merger Sub, LLC (4402); Winn-Dixie
Stores Leasing, LLC (7019); and Winn-Dixie Warehouse Leasing, LLC (6709). The Debtors’ mailing address is
8928 Prominence Parkway, #200, Jacksonville, Florida 32256.
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  The hearing will be held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the
District of Delaware, 824 North Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801. Any person
who wishes to appear telephonically at the September 24, 2018 hearing must contact COURTCALL, LLC at 866-
582-6878 prior to the hearing to register his/her telephonic appearance in accordance with the Instructions for
Telephonic Appearances Effective January 5, 2005, Revised May 11, 2018. All motions and other pleadings
referenced herein are available online free of charge at the following address: https://cases.primeclerk.com/SEG.


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         Related Documents:

         i.        Scheduling Order on Assumption and Cure Disputes in Connection with
                   Debtors’ Proposed Assumption of Nonresidential Real Property Leases for
                   Store No. 328 (Tavernier, FL) and Store No. 2448 (Palmetto, FL) [Docket No.
                   615 – entered June 18, 2018]

         ii.       Memorandum Opinion [Docket No. 706 – entered September 6, 2018]

         iii.      Order [Docket No. 707 – entered September 6, 2018]

         Status: Pursuant to the Court’s Order entered September 6, 2018, a status conference will
                 go forward.

Dated: September 20, 2018
       Wilmington, Delaware

                                             /s/ Amanda R. Steele
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                                             -and-

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